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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION

JAMES LEE SONS, individually, and on
behalf of the wrongful death beneficiaries
of JAMES ALLEN PARKS SONS, deceased                                               PLAINTIFF

VS.                                            CIVIL ACTION NO. 3:16 –CV-181-MPM-RP

BENTON COUNTY, MISSISSIPPI, ET AL.                                              DEFENDANTS


                                FIRST MOTION IN LIMINE

       Come Now the Defendants and move to exclude any testimony, discussion, physical

evidence, or questions at trial concerning the fact that Defendant, Sheriff Arnie McMullen, did

not watch the video of the decedent’s suicide in the weeks and months following the death, and

in support would state as follows:

                                               1.

       On page twenty –four (24) of the Plaintiff’s “Memorandum in Support of his Response to

Defendant’s Motion for Summary Judgment,” the Plaintiff states:

       One of the more bewildering revelations from McMullen’s deposition is that he still had
       not watched the video from inside the cell as of the date of his deposition, nor had he
       watched any other video from inside the jail to gather facts on what had happened.


                                               2.

       Any testimony or discussion concerning the alleged failure of Defendant McMullen to

review the video of the decedent’s death after the fact is not relevant to the issue of whether

McMullen was deliberately indifferent to the needs of the decedent while he was alive. It is also

not relevant to whether or not Sheriff McMullen was deliberately indifferent when implementing

the policy related to the monitoring of mental commitments before the decedent’s suicide. Only
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evidence about what Defendant McMullen did or failed to do, or what he knew or did not know,

“pre-suicide” is relevant to this case. Consequently, any such evidence about viewing the video

tape “post-suicide” should be excluded pursuant to Federal Rules of Evidence 401 and 402.

                                                3.

       Even if there were some slight probative value to this evidence, the evidence should still

be excluded because it is confusing and prejudicial. It suggests that McMullen had some duty to

investigate the suicide and that he is somehow uncaring.         It is undisputed, however, that

Defendant McMullen, just like every Sheriff in Mississippi, had his staff immediately notify the

Mississippi Bureau of Investigation (“MBI”) once he learned that a death had occurred at the jail.

The MBI took the lead on the investigation and obtained the evidence related to the suicide.

Suggesting that McMullen’s actions constitute some sort of “bewildering revelation,” would

unfairly punish McMullen for simply doing his job in the aftermath of the decedent’s suicide.

As such, the evidence should be excluded pursuant to Federal Rule of Evidence 403.

                                                4.

       Given the straightforward nature of this motion, the Defendants respectfully request that

they be relieved of the requirement of filing a supporting memorandum brief.

       WHEREFORE, PREMISES CONSIDERED, the Defendants urge the Court to

prohibit any testimony, discussion, physical evidence, or questions at trial concerning the alleged

failure of Defendant McMullen to view the video of the decedent’s suicide after the fact.


                      Respectfully submitted, this the 31st day of August, 2017.

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                                            s/ S. Ray Hill, III
                                            S. RAY HILL, III, MSB# 100088
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                               CERTIFICATE OF SERVICE

       I, S. Ray Hill, III, hereby certify that on August 31, 2017, I electronically filed the

foregoing with the Clerk of the Court using the ECF system which sent notification of such filing

to all counsel of record.




                                            s/ S. Ray Hill, III
                                            S. RAY HILL, III, MSB# 100088
